                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:10-cr-13-018
 v.                                                     )
                                                        )       COLLIER / LEE
 ROSEMARY LAWSON                                        )
                                                        )


                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 27,

 2010. At the hearing, Defendant moved to withdraw her not guilty plea to Counts One of the

 twenty-three Count Indictment and entered a plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to distribute and possess with the intent to distribute Five

 (5) grams or more of methamphetamine (actual) and Fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled substance,

 in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) in exchange for the undertakings made by the

 government in the written plea agreement. On the basis of the record made at the hearing, I find the

 Defendant is fully capable and competent to enter an informed plea; the plea is made knowingly and

 with full understanding of each of the rights waived by Defendant; the plea is made voluntarily and

 free from any force, threats, or promises, apart from the promises in the plea agreement; the

 Defendant understands the nature of the charge and penalties provided by law; and the plea has a

 sufficient basis in fact.

         Therefore, I RECOMMEND Defendant’s motion to withdraw her not guilty plea to Count

 One be granted, her plea of guilty to the lesser included offense of the charge in Count One, that is



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 of conspiracy to distribute and possess with the intent to distribute Five (5) grams or more of

 methamphetamine (actual) and Fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(B) be accepted, the Court adjudicate Defendant guilty of the lesser

 included offense of the charge in Count One, that is of conspiracy to distribute and possess with the

 intent to distribute Five (5) grams or more of methamphetamine (actual) and Fifty (50) grams or

 more of a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B), and a decision on

 whether to accept the plea agreement be deferred until sentencing. Defendant filed a motion to

 remain on bond after entry of her plea pending sentencing pursuant to 18 U.S.C. §§ 3143 & 3145(c)

 [Doc. 424]. The Government opposed Defendant’s motion to remain on bond pending sentencing

 in this matter. After further medical evidence was gathered, it was determined exceptional

 circumstances exist. Therefore Defendant’s motion to remain on bond pending sentencing is

 GRANTED pending further order of the Court [Doc. 424] and a separate Order has been entered

 on the record. Therefore, I further RECOMMEND Defendant remain on bond until sentencing in

 this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.



                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE




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                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen (14) days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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